         Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 1 of 16




       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


 CHANTE C. LEE, AS PARENT AND NEXT
 FRIENDS OF M.L., A MINOR

         PLAINTIFFS,

 V.                                                   CASE NO. 18-2786 (CKK)
 SEED PUBLIC CHARTER SCHOOL OF
 WASHINGTON, D.C., ET AL.

         DEFENDANTS.


          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
           MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

        Defendant SEED Public Charter School of Washington, D.C. (“SEED” and/or

“Defendant”), by and through its undersigned counsel, pursuant to FRCP 12(b)(1), 12(b)(6),

LCvR 7, and this Court’s December 3, 2018 Order Establishing Procedures ¶¶ 10-11, hereby

respectfully moves this Court to dismiss Plaintiff’s Amended Complaint against it with

prejudice, and hereby files this Memorandum of Points and Authorities in Support.

  I.    INTRODUCTION

        Despite Plaintiff’s lengthy Amended Complaint, there is no legal justification for this

lawsuit. Plaintiff Chante Lee, as parent and next friend of minor ML, contends that SEED Public

Charter School’s negligence and violations of § 504 of the Rehabilitation Act of 1973 (29 U.S.C.

§ 794a) and the Individuals with Disabilities Education Act (20 U.S.C. § 1411 et seq.), prevented

her son from obtaining a normal childhood education and caused him inter alia, severe

emotional distress. However, Plaintiff’s claim under the § 504 of the Rehabilitation Act of 1973

is barred by the one (1) statute of limitations. Even if it is not barred, Plaintiff fails to plead

sufficient facts, accepted as true, to state a claim under the Rehab Act that is plausible on its face.


                                                  1
           Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 2 of 16




In addition, this Court lacks subject matter jurisdiction over Plaintiff’s federal claims because she

failed to exhaust administrative remedies pursuant to 20 USC § 1415.

          District of Columbia law provides that SEED Public Charter School is immune from civil

liability for ordinary negligence. Plaintiff fails to allege conduct sufficiently extreme to rise to

the required level of gross negligence to allow her to circumvent this immunity. Further, since

SEED is a voluntary not for profit organization, Plaintiff could have withdrawn M.L. from the

school, which she ultimately did, if she disagreed with SEED’s decisions. As the District of

Columbia Court of Appeals held in Blodgett, it is improper for Plaintiff to ask this Court to re-

analyze and second-guess a voluntary organization’s discretionary decision. As a result, Plaintiff

fails her burden of pleading as a matter of law, and this Court should dismiss this Amended

Complaint with prejudice.

    II.   FACTUAL BACKGROUND

          Plaintiff Chante Lee has brought this action against SEED, a not for profit public charter

boarding school in the District of Columbia, on behalf of her now twelve year old son ML.1 Am.

Compl. ¶ 3. She pleads that minor ML, who is autistic, was a residential sixth grade student at

SEED during the 2016 school year and lived on the SEED campus housing from 2016 through

2017. Id. at ¶ 15. Ms. Lee “alleges that ML was the victim of several instances of violence and

bullying committed by other students at the SEED School during the 2016-2017 school year.”

Id. at ¶ 16.

          Specifically, Ms. Lee provides that “on or about September 26, 2016, two students at

SEED assaulted minor ML on the soccer field. ML was stomped in the face, hit with rocks and

suffered a concussion.” Id. at ¶ 17. Ms. Lee submits that she filed a police report on September


1
 Plaintiff provides that at the time of these allegations, ML was ten years old and in the sixth grade. Am. Compl. ¶¶
3, 15.


                                                         2
          Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 3 of 16




27, 2016 and provided a copy to Adrian Manuel, then SEED’s Head of School. Id. She asserts

that the “SEED administration personnel acknowledged the constant bull[y]ing by some SEED

students” on October 25, 2016 and “promised to monitor the situation and take action to protect

ML from violence and bullying”. Id. at ¶ 18. She asserts that the SEED students involved in

attacking ML on September 26, 2016 were expelled from SEED. Id.

         Ms. Lee contends that “[t]he constant teasing by students of the minor intensified in

September 2017” to the point that “[h]e was afraid to leave his dormitory room to go to the

bathroom at night.” Id. at ¶ 22, 24. Ms. Lee alleges that “on or about September 19, 2017, ML

was attacked in the boys[’] gym locker room by other male students.”                        Id. at ¶ 19. ML was

physically assaulted, stomped and punched.” Id. at ¶ 20. She states she was not notified of the

incident and was not provided an incident report. Id. at ¶ 19.2 She alleges that ML “was labeled

gay by some students… [and] teased constantly in the shower and bathroom.” Id. at ¶¶ 23-24.

She asserts, “Students circulated video of ML naked in the shower, pronouncing him gay.” Id. at

¶ 23. Ms. Lee provides that on September 27, 2017, after students verbally assaulted and

insulted ML, he attempted suicide. Id. at ¶ 25.

         Ms. Lee removed her son ML from the SEED Residential program on September 27,

2017. Id. at ¶ 26. She alleges that on October 17, 2017, she withdrew ML from SEED school

because SEED administrators advised her that ML must be enrolled in the Residential program

to attend the school. Id. at ¶¶ 27-28. Plaintiff provides that another SEED Residential student

did, in fact, commit suicide, resulting in her death in October 2017. Id. at ¶ 29. She also alleges

several instances of bullying against other students at SEED and that parents have complained

inter alia, “the school doesn’t do enough to keep students safe.” Id. at ¶¶ 31-37. Ms. Lee, as


2
  Notably, Plaintiff’s initial Complaint omitted the allegation that she was not notified and alleged she “requested an
incident report from SEED but her request was denied. Compl. at ¶ 9; Am. Compl. at ¶ 21.


                                                          3
          Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 4 of 16




parent and next friend of minor ML, has brought this Amended Complaint against SEED and

Mecha Inman, 3 in her official and individual capacity as Head of SEED School, for violations of

§ 504 of the Rehabilitation Act of 1973 (29 U.S.C. § 794a), violations of the Individuals with

Disabilities Education Act (20 U.S.C. § 1411 et seq.), gross negligence, and negligent infliction

of emotional distress. See generally Am. Compl.

III.     STANDARD OF REVIEW

         A.       Lack of Subject Matter Jurisdiction

         “A court must dismiss a case pursuant to Rule 12(b)(1) when it lacks subject matter

jurisdiction.” Hunter v. United States Bank Nat'l Ass’n, 698 F. Supp. 2d 94, 98 (D.D.C. 2010).

“In determining whether there is jurisdiction, the Court may consider the complaint

supplemented by undisputed facts evidenced in the record, or the complaint supplemented by

undisputed facts plus the court's resolution of disputed facts.” Id. “At the motion to dismiss

stage, counseled complaints, as well as pro se complaints, are to be construed with sufficient

liberality to afford all possible inferences favorable to the pleader on allegations of fact.” Id. In

spite of the favorable inferences that a plaintiff receives on a motion to dismiss, it remains the

plaintiff’s burden to prove subject matter jurisdiction by a preponderance of the evidence.” Id.

“Although a court must accept as true all factual allegations contained in the complaint when

reviewing a motion to dismiss pursuant to Rule 12(b)(1), [a] plaintiff[’s] factual allegations in

the complaint . . . will bear closer scrutiny in resolving a 12(b)(1) motion than in resolving a

12(b)(6) motion for failure to state a claim.” Id.




3
 Per the Court’s online public docket, Plaintiff has not served Mecha Inman with service of process in this action as
of December 6, 2018.


                                                         4
        Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 5 of 16




       B.      Failure to State a Claim for Which Relief May Be Granted

       Whether under District of Columbia or federal law, a complaint must contain sufficient

facts, accepted as true, to state a claim “that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). When considering a motion under Rule 12(b)(6), the Court must accept as true

all of the factual allegations contained in the complaint, but not the legal conclusions. Id. In

addition, “only a complaint that states a plausible claim for relief survives a motion to dismiss.”

Id. at 679. A claim is facially plausible when the factual content “allows the [C]ourt to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id. at 663. While

plausibility does not equate to the “probability requirement, [a plaintiff must show] more than a

sheer possibility that a defendant acted unlawfully.” Id. The complaint must include more than

mere “labels and conclusions.” Id.

       The Court need not accept inferences drawn by Plaintiff if those inferences are

unsupported by facts alleged in the complaint, nor must the Court accept Plaintiff’s legal

conclusions. Kowal v. MCI Commc’ns Corp., 16 F.3d 1271, 1276 (D.C. Cir. 1994). A

complaint’s “factual allegations must be enough to raise a right to relief above the speculative

level....” Bell Atlantic v. Twombly, 550 U.S. 544, 555 (2007). “[D]ismissal under Rule 12(b)(6) is

appropriate where the complaint fails to allege the elements of a legally viable claim.” King v.

District of Columbia, 878 F.Supp 8, 11 (D.D.C. 2012).




                                                  5
        Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 6 of 16




IV.    PLAINTIFF’S FEDERAL CLAIMS

       A.     Plaintiff Fails to State a Claim for Which Relief Can be Granted Under § 504
              of the Rehabilitation Act of 1973 (“Rehab Act”).

              1.      Plaintiff’s Rehab Act Claim Is Barred by The One Year Statute of
                      Limitations.

       “The Rehabilitation Act contains no specific statute of limitations, and as a result courts

generally borrow one from an analogous state cause of action.”           Congress v. District of

Columbia, 324 F. Supp. 3d 164, 171 (D.D.C. 2018). In Congress, the District Court held that the

Rehab Act was more analogous to the D.C. Human Rights Act state cause of action and applied

its one-year statute of limitations to bar a plaintiff’s Rehab Act claim. Id. The District Court

relied upon the District of Columbia Court of Appeals opinion in Jaiyeola v. District of

Columbia, 40 A.3d 356, 368 (D.C. 2012), which explained:

              D.C. Human Rights Act and the Rehabilitation Acts have a shared
              purpose and ambitious aims—both seek to end discrimination
              against individuals with disabilities. To achieve that goal, both
              statutes create private causes of action for disabilities who have
              been victimized by disability discrimination and both allow for a
              similar set of remedies including compensatory damages and
              equitable relief. And both statutes employ substantially the same
              definition of the term disability. The only real substantive
              difference between the two goes to the scope of their coverage: the
              D.C. Human Rights Act prohibits discrimination on additional
              bases such as gender and race and applies broadly to proscribe
              discrimination in employment, membership in labor unions,
              housing and real estate transactions, public accommodations, and
              education institutions. The Rehabilitation Act, on the other hand,
              focuses solely on discrimination against individuals with
              disabilities by programs or activities receiving federal funds. But
              these differences of scope do not override the similarities at the
              core of the two statutes.

Congress, 324 F. Supp. 3d at 172 (quoting Jaiyeola, 40 A.3d at 365, 367).

       Additionally, the District Court held that its decision to apply the one (1) year statute of

limitations was also consistent with the deference owed to the District of Columbia Court of



                                                6
         Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 7 of 16




Appeals on matters of D.C. law. Id. at 173. The District Court held that it “accords considerable

persuasive weight to the conclusion of the D.C. Court of Appeals, as the final authority on D.C.

law, that the D.C. Human Rights Act is the more analogous cause of action.” Id.

        The crux of Plaintiff’s allegations derives from the alleged disability-based assault on ML

that occurred on September 26, 2016 and SEED’s alleged actions and/or inactions following the

incident. Am. Compl. ¶¶ 17, 102, 105 138. Ms. Lee admits she had actual knowledge of the

alleged disability-based assault no later than September 27, 2016 when she filed the police

report. Id. at ¶ 17.    Ms. Lee filed this lawsuit against SEED on August 22, 2018. See D.C.

Superior Court Docket. Since Ms. Lee’s lawsuit was filed more than one (1) year after the

alleged September 26, 2016 disability discrimination, her Rehab Act claim is untimely. As a

result, this Court should dismiss Plaintiff’s Rehab Act claim with prejudice.

                2.      Plaintiff Fails to Plead Sufficient Factual Matter Giving Rise to A Viable
                        Claim of Relief Under The Rehab Act.

        “The Rehabilitation Act provides that [n]o otherwise qualified individual with a disability

. . . shall, solely by reason of his or her disability . . . be excluded from participation in, be denied

the benefits of, or be subjected to discrimination under any program or activity receiving Federal

financial assistance . . . .” 29 U.S.C. § 794(a). Colbert v. District of Columbia, 78 F. Supp. 3d 1,

30 (D.D.C. 2015) (internal quotations and citations omitted). “The purpose of the Act is to

eliminate discrimination on the basis of disability and to ensure evenhanded treatment between

the disabled and the able-bodied.” Id. at 31 (internal quotations and citations omitted). “[T]o

allege a Rehab claim, a plaintiff must assert discrimination solely by reason of his or her

disability.”   Id. at 32 (internal quotations and citations omitted).             “The Act prohibits

discrimination based on disability; it does not impose a standard of care or a minimum level of

services that must be provided to the disabled.” Id. (internal quotations and citations omitted).



                                                   7
        Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 8 of 16




       Ms. Lee pleads that SEED created and/or subjected ML to a hostile educational

environment in violation of the Rehab Act. Am. Compl. 101. She alleges that the disability-

based assault deprived ML of access to educational opportunities or benefits provided by the

school. Id. at ¶ 100. She asserts, “Defendant Seed’s failure to promptly and appropriately

respond to the alleged disability-based harassment, resulted in M.L. on the basis of his disability,

being excluded from participation in, being denied the benefits of, and being subjected to

discrimination in defendant Seed’s education program in violation of § 504 of the Rehabilitation

Act of 1973.” Id. at ¶ 103.

       Here, Plaintiff fails to plead sufficient facts, accepted as true, to state a claim under the

Rehab Act that is plausible on its face. Ashcroft, 556 U.S. at 678. Despite Plaintiff’s lengthy

Amended Complaint, Plaintiff fails to establish that SEED’s alleged discrimination against ML

was solely by reason of his disability. Colbert, 78 F. Supp. 3d at 32. In addition, Plaintiff fails

to plead and cannot establish that SEED treated ML differently than able-bodied individuals. Id.

at 31. Although Plaintiff’s allegations include buzzwords like disparate treatment, the complaint

must include more than mere “labels and conclusions.” Ashcroft at 663. In fact, Plaintiff asserts

that other parents were allegedly having similar complaints with SEED as to how it was

responding to their respective child’s allegations of bullying and harassment. Am. Compl. at ¶¶

31-37. As a result, Plaintiff cannot establish ML was treated differently solely by reason of his

disability when other students allegedly experienced the same treatment. As a result, Plaintiff’s

Rehab Act claim fails as a matter of law.




                                                 8
        Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 9 of 16




       B.      This Court Lacks Subject Matter Jurisdiction Over Plaintiff’s IDEA and
               Rehab Act Claims.

               1.      Plaintiff’s IDEA Claim Is Barred for Failure to Exhaust Her
                       Administrative Remedies Pursuant to 20 USC § 1415.

       The Individuals with Disabilities Education Act (“IDEA”) ensures that “all children with

disabilities have available to them a free appropriate pub[l]ic education that emphasizes special

education and related services designed to meet their unique needs and prepare them for further

education, employment, and independent living.” Torrence v. District of Columbia, 669 F. Supp.

2d 68, 69 (D.D.C. 2009), quoting 20 U.S.C. § 1400(d)(1)(A)). “In other words, the IDEA

guarantees children with disabilities the right to a free appropriate public education (FAPE).” Id.

       “IDEA embodies significant procedural safeguards which may be enforced through

administrative hearings and civil actions in state or federal courts.” Clay v. District of Columbia,

831 F. Supp. 2d 36, 50 (D.D.C. 2011). “A two-year statute of limitations is among the Act’s

procedural safeguards.”     Id., citing 20 U.S.C. § 1415 (b)(6)(B) (statute provides “[a]n

opportunity for any party to present a complaint . . . which sets forth an alleged violation that

occurred not more than 2 years before the date the parent or public agency knew or should have

known about the alleged action that forms the basis of the complaint[.]”). “Judicial review is

generally unavailable under the IDEA unless all administrative procedures have been

exhausted[,] and the court does not have subject matter jurisdiction over an IDEA claim that has

not first been pursued through administrative channels.” Id.; See also 20 U.S.C. § 1415 (i)(2).

       Here, Plaintiff has failed to plead and cannot establish that she has exhausted the

administrative remedies required to bring a civil action under the IDEA. As a result, this Court

lacks subject matter jurisdiction and should dismiss the IDEA claim with prejudice.




                                                 9
        Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 10 of 16




       Even if this Court afforded Plaintiff the opportunity to exhaust her administrative

remedies her claims would be barred by the IDEA’s two (2) year statute of limitations. The

alleged disability discrimination giving rise to Plaintiff’s IDEA claim occurred on September 26,

2016. Am. Compl. ¶¶ 17, 102, 105 138. Ms. Lee was barred from filing an administrative

complaint by September 26, 2018.            Plaintiff fails to plead that she has filed such an

administrative claim and as a result, her administrative complaint would be barred. Thus, this

Court should dismiss Plaintiff’s IDEA claim, with prejudice, for lack of subject matter

jurisdiction, or in the alternative, for failure to plead a claim for which relief can be granted.

       2.      Plaintiff’s Rehab Act Claim Is Barred for Failure to Exhaust Her Administrative
               Remedies Pursuant to 20 USC § 1415.

       The Supreme Court of the United States recently analyzed the IDEA to determine the

scope of its exhaustion requirements. Fry v. Napoleon Cmty. Sch., 137 S. Ct. 743, 752 (2017).

“Section 1415(l) requires that a plaintiff exhaust the IDEA’s procedures before filing an action

under the ADA, the Rehabilitation Act, or similar laws when (but only when) her suit seek[s]

relief that is also available under the IDEA. Id. The Supreme Court held “that to meet that

statutory standard, a suit must seek relief for the denial of a FAPE, because that is the only relief

the IDEA makes available.” Id. The Supreme Court next concluded “that in determining

whether a suit indeed seeks relief for such a denial, a court should look to the substance, or

gravamen, of the plaintiff’s complaint.” Id. The Court reasoned:

               But that examination should consider substance, not surface. The
               use (or non-use) of particular labels and terms is not what matters.
               The inquiry, for example, does not ride on whether a complaint
               includes (or, alternatively, omits) the precise words[] “FAPE” or
               “IEP.” After all, §1415(l)’s premise is that the plaintiff is suing
               under a statute other than the IDEA, like the Rehabilitation Act; in
               such a suit, the plaintiff might see no need to use the IDEA’s
               distinctive language—even if she is in essence contesting the
               adequacy of a special education program.



                                                  10
        Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 11 of 16




Id. at 755.

        Here, Plaintiff’s allegations for violations of the IDEA and Rehab Act are nearly

identical. See Am. Compl. Counts I and IV. Although Plaintiff does not utilize the word FAPE

or other buzzwords from the IDEA, Plaintiff essentially contests the adequacy of SEED’s

education program for ML by alleging he was deprived of a normal childhood education and

educational opportunities at SEED. Plaintiff pleads the following:

                 M.L. endured harassment and subsequent emotional and
                  psychological trauma that followed from defendant Seed’s failure
                  to properly handle the incidents described herein, all of which
                  deprived M.L. of educational opportunities and benefits of the
                  school. Am. Compl. at ¶ 87.

                 M.L. has also been deprived of a normal childhood education due
                  to defendant Seed’s acts and conduct and the resulting educational
                  environment. Id. at ¶ 97.

                 M.L. has also been damaged by missed educational opportunities
                  and his future earning capabilities have been damaged by
                  defendant Seed’s acts and conduct and the resulting hostile
                  educational environment. Id. at ¶ 98.

                 The disability-based assault and harassment M.L. endured was
                  severe, pervasive, and objectively offensive that it deprived the
                  plaintiffs of access to educational opportunities or benefits
                  provided by the school. Id. at ¶¶ 100, 136.

                 Defendant Seed’s failure to promptly and appropriately respond to
                  the alleged disability-based harassment, resulted in M.L. on the
                  basis of his disability, being excluded from participation in, being
                  denied the benefits of, and being subjected to discrimination in
                  defendant Seed’s education program in violation of § 504 of the
                  Rehabilitation Act of 1973. Id. at ¶¶ 103, 139.

        Here, Plaintiff in her 146 paragraph Amended Complaint essentially seeks relief for

SEED’s alleged failure to provide ML a fair appropriate public education. As a result, Plaintiff




                                                  11
         Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 12 of 16




was required to exhaust the IDEA administrative remedies prior to bringing a Rehab Act claim

which seeks the same relief.4

V. PLAINTIFF’S DISTRICT OF COLUMBIA SUBSTANTIVE LAW CLAIMS

        A.       Plaintiff Fails to Assert a Gross Negligence Claim for Which Defendant Can
                 Be Held Liable.

        The District of Columbia provides:

                 A public charter school, and its incorporators, Board of Trustees,
                 officers, employees, and volunteers, shall be immune from civil
                 liability, both personally and professionally, for any act or
                 omission within the scope of their official duties unless the act or
                 omission:
                          (i) Constitutes gross negligence;
                          (ii) Constitutes an intentional tort; or
                          (iii) Is criminal in nature.

D.C. Code Ann. § 38-1802.04(c)(17)(A) (2018).

        It is well-settled in the District of Columbia that “where there is a statute that precludes

liability for ordinary negligence, courts have defined gross negligence as such an extreme

deviation from the ordinary standard of care as to support a finding of wanton, willful and

reckless disregard or conscious indifference for the rights and safety of others.” Wells v. Hense,

235 F. Supp. 3d 1, 22 (D.D.C. 2017) (internal quotations omitted) citing D.C. v. Walker, 689

A.2d 40, 44–45 (D.C. 1997) and D.C. Code Ann. § 38–1802.04(17)(A). The standard “has been

held to connote that the actor has engaged in conduct so extreme as to imply some sort of bad

faith.” Walker, 689 A.2d at 44.

        Here, Ms. Lee’s claims of “gross negligence” warrant dismissal because she pleads

conclusory statements without sufficient factual support. Her Amended Complaint is comprised


4
 Plaintiff also seeks money damages for resulting emotional distress. Am Compl. 110; See Prayer for Relief at pg.
25. The Supreme Court declined to answer whether seeking money damages bring a plaintiff’s current claims
outside the IDEA and the § 1415(l) exhaustion requirement. Crockett v. Mayor of the District of Columbia, 279 F.
Supp. 3d 100, 111 (D.D.C. 2017) (citing Fry, 137 S. Ct. at 752, n.4, 754 n.8).


                                                       12
        Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 13 of 16




of buzzwords and allegations that are “merely consistent with a defendant’s liability.” Sundberg

v. TTR Realty, LLC, 109 A.3d 1123, 1129 (D.C. 2015). Plaintiff asserts instances in which her

son was bullied and harassed on September 26, 2016 and September 19, 2017. Am. Compl. ¶¶

17-19. She alleges that Defendant acknowledged awareness of the bullying on October 25,

2016. Id. at ¶ 18.

       In sum, Ms. Lee pleads that SEED failed to take corrective action to remedy the

misconduct, exposing ML to bullying and severe emotional distress. Id. at ¶ 116. She claims

that SEED’s actions were in “bad faith,” “highly unreasonable,” and it acted with “deliberate

indifference and reckless disregard of the foreseeable consequences of violence by SEED

students….” Id. at ¶¶ 117, 118, 120. She asserts, “Defendants Seed and Inman’s outrageous

conduct as described herein is an extreme departure from the ordinary care to be exercised by an

educational institution responsible for the safety and welfare of its students and constitutes an

extraordinary circumstance.” Id. at ¶¶ 121; 123; 125-126. Further, she alleges, “Defendants

Seed and Inman’s action or inaction as described herein wantonly, willfully and recklessly

disregarded the rights and safety of M.L.” Id. at ¶ 124.

       However, Plaintiff’s conclusions are unsupported. Plaintiff admits that SEED expelled

the students involved in the September 26, 2016 attack on ML. In addition, Plaintiff submits that

SEED released the following statement:

               The safety and security of our students is our top priority, and we
               have stringent procedures in place to protect our students. Any
               time an incident is reported, we take all precautions to immediately
               ensure the students' safety. We then launch a thorough internal
               investigation, involving the parents of the involved students
               throughout the process. Our protocols are designed to protect not
               only our students' and families' safety, but their confidentiality. We
               are constantly reviewing these protocols in order to strengthen
               them wherever possible.




                                                13
        Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 14 of 16




Id. at ¶ 38.

        Plaintiff’s mere conclusory statements without sufficient factual allegations fall short of

plausibility of entitlement to relief. Sundberg, 109 A.3d at 1129. This Court cannot reasonably

infer from Plaintiff’s allegations that Defendant has engaged in conduct so extreme as to imply

some sort of bad faith.” Walker, 689 A.2d at 44. As a result, this Court should dismiss

Plaintiff’s claim of gross negligence with prejudice. To the extent this Court dismisses Ms.

Lee’s gross negligence claim, her negligent infliction of emotional distress claim also fails as a

matter of law because it derives, and is not independent, from her gross negligence allegations.

        B.     This Court Should Dismiss Plaintiff’s Complaint Because This Court Should
               Not Second-Guess the Discretionary Decisions of SEED Public Charter
               School.

        In Blodgett v. The University Club, 930 A.2d 210 (D.C. 2007) (hereinafter “Blodgett”),

the Court of Appeals concluded that “[i]t is not [the Court’s] role to second-guess” the

discretionary decisions of a voluntary organization. In Blodgett, The University Club was a not

for profit and voluntary social organization within the District of Columbia. 930 A.2d at 215. In

1993, Todd Blodgett joined the University Club and, shortly thereafter, began bringing known

racists and anti-Semitists to the Club. Id. The University Club’s Board of Governors took

specific actions that led to his expulsion from the Club. Id. at 216. Blodgett initiated suit against

the University Club as a result and disagreed with the Board’s actions and reasoning. Id. at 225.

        Here, Ms. Lee has sued a not for profit voluntary public charter school in the District of

Columbia because she disagrees with how the school handled the instances when her son was

bullied. Attendance at SEED Public Charter School is voluntary. Ms. Lee made a voluntary

choice to enroll her son at SEED and likewise, made the decision to withdraw her son from the

school on October 17, 2017. Am. Compl. at ¶ 28. She alleges that SEED was made aware of




                                                 14
        Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 15 of 16




the bullying on or about October 25, 2016 and disagrees with the actions taken by SEED. Just as

in Blodgett, this Court should not second-guess Defendant SEED’s discretionary decisions on

how to handle bullying and harassment.

VI.    CONCLUSION

       Plaintiff has not pled, and cannot prove, her case against SEED for several reasons.

Plaintiff’s Rehab Act claim is barred by the one (1) year statute of limitations. Even if it is not

barred, Plaintiff fails to plead sufficient facts, accepted as true, to state a claim under the Rehab

Act that is plausible on its face. In addition, this Court lacks subject matter jurisdiction over

Plaintiff’s Rehab Act and IDEA claims because she failed to exhaust administrative remedies

pursuant to 20 USC § 1415.

       SEED Public Charter School is statutorily immune from civil liability for ordinary

negligence. D.C. Code Ann. § 38-1802.04(c)(17)(A) (2018).             Plaintiff fails to plead that

Defendant’s alleged conduct was sufficiently extreme to rise to the required level of gross

negligence to allow her to circumvent this immunity. Further, since SEED is a voluntary not for

profit organization, Plaintiff could have withdrawn M.L. from the school, which she ultimately

did, if she disagreed with SEED’s decisions. As the District of Columbia Court of Appeals held

in Blodgett, it is improper for Plaintiff to ask this Court to re-analyze and second-guess a

voluntary organization’s discretionary decision. As a result, Plaintiff fails her burden of pleading

as a matter of law, and this Court should dismiss this Amended Complaint with prejudice.




                                                 15
       Case 1:18-cv-02786-CKK Document 5-3 Filed 12/06/18 Page 16 of 16




       WHEREFORE, because Plaintiff failed his burden of pleading as a matter of law,

SEED Public Charter School of Washington, DC respectfully requests that this Court grant its

Motion and dismiss Plaintiff’s Amended Complaint with prejudice.


                                                  Respectfully submitted,

                                                  ECCLESTON AND WOLF, P.C.

                                                         /s/
                                                  Justin M. Flint (#491782)
                                                  Abby A. Franke (#1030041)
                                                  1629 K STREET, NW, Suite 260
                                                  Washington, DC 20006
                                                  (202) 857-1696
                                                  (202) 857-0762
                                                  flint@ewdc.com
                                                  franke@ewdc.com
                                                  Counsel for Defendant
                                                  SEED Public Charter School of
                                                  Washington, D.C.




                                             16
